




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS



)
	

JULIO SALAZAR,)
		   No. 08-03-00213-CR

)


			Appellant,)
			Appeal from

)
	

v.)
		     243rd District Court

)


THE STATE OF TEXAS,)
		 of El Paso County, Texas

)


			Appellee.)
		      (TC# 20020D04130)


MEMORANDUM OPINION



	Julio Salazar attempts to appeal from a conviction for burglary of a habitation.  Finding that
Appellant has no right of appeal, we dismiss the appeal.

	Rule 25.2(a)(2) governs the defendant's right to appeal in a criminal case:


	A defendant in a criminal case has the right under Code of Criminal Procedure article
44.02 and these rules.  The trial court shall enter a certification of the defendant's
right of appeal in every case in which it enters a judgment of guilt or other appealable
order. (1)  In a plea bargain case--that is, a case in which defendant's plea is guilty or
nolo contendere and the punishment did not exceed the punishment recommended
by the prosecutor and agreed to by the defendant--a defendant may appeal only:


		(A)  those matters that were raised by written motion filed and ruled
on before trial, or


		(B)  after getting the trial court's permission to appeal.


Tex.R.App.P. 25.2(a)(2).

	Appellant filed a timely notice of appeal, including the trial court's certification of the
defendant's right to appeal as required by Rules 25.2(a)(2) and 25.2(d).  The trial court's certification 
reflects that the appeal "is in a plea-bargain case, and the defendant has NO right of appeal."  The
Clerk's Office notified Appellant's counsel that the certification reflects that Appellant has no right
of appeal in this case and requested a response.  In the letter brief, counsel admits that Appellant has
no right of appeal and the case must be dismissed.  Accordingly, the appeal is dismissed.



July 31, 2003						                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.


(Do Not Publish)
1.   Rule 25.2(d) requires that the trial court certify whether the defendant has a right of appeal under Rule
25.2(a)(2).  Tex.R.App.P. 25.2(d).       


